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Volkar, Kelly (USACAN)

From:               Schenk, Jeffrey (USACAN)
Sent:               Sunday, January 23, 2022 5:23 PM
To:                 Bostic, John (USACAN); Leach, Robert (USACAN); Volkar, Kelly (USACAN)
Subject:            Fwd: [EXTERNAL] RE: Holmes - international travel




Begin forwarded message:

       From: "Wade, Lance" <LWade@wc.com>
       Date: January 23, 2022 at 5:19:10 PM PST
       To: "Schenk, Jeffrey (USACAN)" <JSchenk@usa.doj.gov>
       Cc: "Trefz, Katherine" <KTrefz@wc.com>
       Subject: [EXTERNAL] RE: Holmes ‐ international travel

       Jeff:

       Thanks for raising this with us. I will gather all of the details and provide the specifics tomorrow. In
       general, this was a reservation that was made before the verdict. The hope was that the verdict would
       be different and Ms. Holmes would be able to make this trip to attend the wedding of close friends in
       Mexico. Given the verdict, she does not plan to take the trip — and therefore did not provide notice,
       seek permission, or request access to her passport (which the government has) for the trip. But she also
       had not yet cancelled the trip, amidst everything that has been going on. We will have her do so
       promptly and will provide you confirmation of that tomorrow. I will provide additional specific
       information tomorrow am as well, but feel free to call me with questions.

       Thanks.

       —Lance



       From: Schenk, Jeffrey (USACAN) <Jeffrey.B.Schenk@usdoj.gov<mailto:Jeffrey.B.Schenk@usdoj.gov>>
       Date: Sunday, Jan 23, 2022, 7:45 PM
       To: Wade, Lance <LWade@wc.com<mailto:LWade@wc.com>>
       Cc: Trefz, Katherine <KTrefz@wc.com<mailto:KTrefz@wc.com>>
       Subject: Holmes ‐ international travel

       Lance,

       Recently, the government became aware that Ms. Holmes has a reservation for international air travel,
       scheduled to depart in the next few days. Ms. Holmes did not provide the government notice of this
       travel, nor obtain approval from the Court. In light of her current bail conditions, we find this
       concerning. We chose to bring this information directly to your attention, with the hope that by 11am
       PST tomorrow (Monday, 1/24), you could provide proof that the international portion of her 1/26 travel
       reservation has been cancelled.


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Separately, we are considering asking the Court to schedule a bail review hearing to discuss this
issue. Before we do that, and to help us evaluate the seriousness of this action, we are hoping you could
provide an explanation for this conduct. We assume Ms. Holmes remains aware of her release
conditions. Nevertheless, we would appreciate any context you can provide as we assess the need for
Court involvement.

Regards,
Jeff


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the message and any attachments and notify the sender immediately. Thank you.




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